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                                                                   7   Counsel to the Official Committee of Unsecured Creditors
                                                                   8                        UNITED STATES BANKRUPTCY COURT
                                                                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                   9
                                                                       In re:                                  Case No.: 22-02384-LT11
                                                                  10
                                                                       BORREGO COMMUNITY                       Chapter 11
                                                                  11   HEALTH FOUNDATION,
                                                                                                               NOTICE OF PACHULSKI STANG ZIEHL &
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12            Debtor and Debtor in           JONES LLP’S FIRST MONTHLY FEE
                                                                                Possession.                    APPLICATION FOR ALLOWANCE AND
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                           PAYMENT OF INTERIM COMPENSATION
                                           ATTORNEYS AT LAW




                                                                                                               AND REIMBURSEMENT OF EXPENSES
                                                                  14                                           FOR THE PERIOD SEPTEMBER 30, 2022 –
                                                                                                               OCTOBER 31, 2022
                                                                  15

                                                                  16
                                                                       TO THE HONORABLE LAURA S. TAYLOR, UNITED STATES
                                                                  17
                                                                       BANKRUPTCY JUDGE, THE DEBTOR AND DEBTOR’S COUNSEL,
                                                                  18   COUNSEL THE PATIENT CARE OMBUDSMAN, THE UNITED STATES OF
                                                                       AMERICA, THE STATE OF CALIFORNIA, THE OFFICE OF THE UNITED
                                                                  19
                                                                       STATES TRUSTEE, AND PARTIES REQUESTING SPECIAL NOTICE:
                                                                  20

                                                                  21            PLEASE TAKE NOTICE Pachulski Stang Ziehl & Jones, LLP (“PSZJ” or the
                                                                  22   “Firm”), counsel to the Official Committee of Unsecured Creditors, has filed it First
                                                                  23   Monthly Fee Application for Allowance and Payment of Interim Compensation and
                                                                  24   Reimbursement of Expenses for the Period September 30, 2022 – October 31, 2022
                                                                  25   [Docket No. 337]. As detailed below, PSZJ seeks allowance payment of interim
                                                                  26   compensation consisting of 80% of the fees for services rendered, plus 100% of the
                                                                  27   expenses incurred during the period September 30, 2022 - October 31, 2022 (the
                                                                  28   “Application Period”).
                                                                  Case 22-02384-LT11              Filed 12/27/22        Entered 12/27/22 13:31:49            Doc 339       Pg. 2 of 2



                                                                   1   Professional’s      Position       Application   Total            Total        80% of        Total           Hold Back
                                                                       Name and                           Period        (100%) Fees      (100%)       Fees          Requested       (20% of
                                                                   2   Address                                          Incurred         Expenses     Incurred      in this         Fees)
                                                                                                                                         Incurred                   Application
                                                                   3                                                                                                (80% of
                                                                                                                                                                    Fees and
                                                                   4                                                                                                100% of
                                                                                                                                                                    Expenses)
                                                                   5   Pachulski           Counsel to     9/30/22 –     $94,549.501      $2,743.58    $75,639.60    $78,383.18      $18,909.90
                                                                       Stang Ziehl &       the Official   10/31/22
                                                                       Jones LLP           Committee
                                                                   6
                                                                                           of
                                                                                           Unsecured
                                                                   7                       Creditors
                                                                   8

                                                                   9              Pursuant to this Court’s Order on Debtor’s Motion for Entry of an Order
                                                                  10   Establishing Procedures for Monthly Payment of Fees and Expense Reimbursement
                                                                  11   that was entered on or about December 15, 2022 [Docket No. 299], any party
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   objecting to the allowance and payment of interim compensation and reimbursement
                                        LOS ANGELES, CALIFORNIA




                                                                  13   of expenses as requested must file a written objection with the Court and serve a copy
                                           ATTORNEYS AT LAW




                                                                  14   of that objection upon PSZJ, as well as on the Office of the United States Trustee, the
                                                                  15   Debtor and Debtor’s counsel, and counsel for the Patient Care Ombudsman within ten
                                                                  16   (10) calendar days of the date this Notice was mailed.
                                                                  17              If an objection is timely filed and served, the Debtor will pay to PSZJ only the
                                                                  18   applicable percentage of those amounts not in dispute and will reserve any amounts in
                                                                  19   dispute for payment after the Court hears and resolves such dispute.
                                                                  20

                                                                  21   Dated: December 27, 2022                              PACHULSKI STANG ZIEHL & JONES LLP
                                                                  22                                                         By        /s/ Jeffrey N. Pomerantz
                                                                                                                                       Jeffrey N. Pomerantz
                                                                  23
                                                                                                                                       Counsel to the Official Committee of
                                                                  24                                                                   Unsecured Creditors
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                                                                       1
                                                                           PSZJ has agreed with the Committee to seek professional compensation at a blended hourly rate of $900.
                                                                                                                                   2
                                                                       DOCS_DE:241685.1 10283/002
